Case 3:21-cv-01585-S Document 34 Filed 11/09/22 Pagelof2 PagelD 7929

United States District Court

NORTHERN DISTRICT OF TEXAS

 

DALLAS DIVISION

THE CHARITABLE DAF FUND, L.P. §
and CLO HOLDCO, LTD. §

§
Vv. § CIVIL ACTION NO, 3:21-CV-1585-S

§
HIGHLAND CAPITAL MANAGEMENT, §
L.P. §

§

§ BANKRUPTCY CASE
IN RE: § No. 19-34054-SGJ11

§
HIGHLAND CAPITAL MANAGEMENT, = § Chapter No.: 11
LP. §

ORDER

 

This Order addresses Appellants’ Motion to Reopen Administratively Closed Appeal,
Notice of Fifth Circuit Decision, and Request for Briefing Schedule (“Motion”) [ECF No. 25].
This Court abated and administratively closed the above-styled appeal pending the resolution of
NexPoint Advisors, L.P. et al. v. Highland Capital Management, L.P., No. 21-10449 (Sth Cir.
2021). Although the aforementioned appeal resolved with the Fifth Circuit’s opinion in Matter of
Highland Capital Management, L.P., 48 F 4th 419, 424 (Sth Cir. 2022), another related case is
now pending before the Fifth Circuit. In light of the new related appeal, the Court DENIES the
Motion.

It is therefore ORDERED that the above-styled appeal remain ABATED and
ADMINISTRATIVELY CLOSED pending the resolution of Charitable DAF Fund, LP. y.
Highland Capital Management, L.P., No. 22-11036 (Sth Cir. 2022), without prejudice to it being
reopened upon a motion by any party or to enter a judgment. Appellants shall file their opening

brief on or before 14 days after a final mandate issues or the appeal is otherwise resolved.

 

 
Case 3:21-cv-01585-S Document 34 Filed 11/09/22 Page2of2 PagelD 7930

It is further ORDERED that Appellee’s Motion for Summary Affirmance [ECF No. 23]
and Appellants’ Motion for Extension of Time to File Opening Brief [ECF No. 29] are hereby
TERMINATED AS MOOT.

SO ORDERED.

SIGNED November 9, 2022.

  

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

 

 

 
